Case 1:24-mc-91609-LTS Document14-1 Filed 12/11/24 Pagelof2

-EXHIBITA
Case 1:24-mc-91609-LTS Document14-1 Filed 12/11/24 Page2of2

AFFIDAVIT OF SERVICE
Case: Court: County: -| Job:
24-MC- UNITED STATES DISTRICT COURT for the DISTRICT OF Suffolk, MA 12293892
91609 MASSACHUSETTS
Plaintiff / Petitioner: Defendant / Respondent:
PW. Rentals LTD., 1251237 Alberta LTD., 1218172 Alberta LTD. Auction Mobility LLC
Silver Sky Rentals LTD., Shilo Wild, and Perry Wild
Received by: For:
New England Constables Fitch Law Partners LLP

To be served upon:
Auction Mobility LLC

|, Gavin Castagna, depose and say: | am over the age of 18 years and not a party to this action, and that within the boundaries of the
Commonwealth of Massachusetts where service was effected, | was authorized by law to make service of the documents and informed said
person of the contents herein

Recipient Name/Address: Auction Mobility LLC, Auction Mobility LLC, Corporation Service Company: 84 State Street, Boston, MA 02109

Manner of Service: Personal/Individual, Dec 6, 2024, 2:00 prn EST

Documents: Letter fram Attorney, Civil Cover Sheet, Petition for Discovery in Aid of a Foreign Proceeding, ExhibitA, Schedule
A, Memorandum of Law in Support of Petition for an Order to Take Discovery, Declaration of Paul Greep in
Support of Petition for an Order to Take Discovery, Exhibit 1, District Judge Leo T, Sorokin - Electronic Order
entered 12/4/24,

Additional Comments:

1) Successful Attempt: Dec 6, 2024, 2:00 pm EST at Auction Mobility LLC, Corporation Service Company: 84 State Street, Boston, MA 02109
received by Auction Mobility LLC.

2} Service was made, In-Hand, to Jim Divincenzo, at place of Business.

Lin (iepae 12/06/2024

Gavin Castazna Date
Constable, Process Server, Disinterested
Person

DIGlorgio & Associates
Constable Service LLC
7 Lincoln Street, 306A
Wakefleld, MA 01880
617-233-4530

